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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 16–15–M–DLC–1

                      Plaintiff,
                                                              ORDER
        vs.

 GEORGE GERALDO,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on May 5, 2016. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept George Geraldo’s guilty plea

after Geraldo appeared before him pursuant to Federal Rule of Criminal Procedure

11, and entered a plea of guilty to one count of possession with the intent to

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distribute, methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) (Count II), as

set forth in the Indictment. In exchange for Defendant’s plea, the United States

has agreed to dismiss Count I of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

30), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that George Geraldo’s motion to change

plea (Doc. 22) is GRANTED and George Geraldo is adjudged guilty as charged in

the Indictment.

      DATED this 20th day of May, 2016.




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